

After Remand from the Supreme Court

THOMPSON, Judge.
The prior judgment of this court has been reversed and the cause remanded by the Supreme Court of Alabama. Ex parte State Farm Fire &amp; Cas. Co., 764 So.2d 543 (Ala.2000). On remand to this court, and in compliance with the Supreme Court’s opinion, the summary judgment entered by the trial court against State Farm is hereby reversed and the cause remanded for further proceedings consistent with the Supreme Court’s opinion.
REVERSED AND REMANDED WITH INSTRUCTIONS.
ROBERTSON, P.J., and YATES, MONROE, and CRAWLEY, JJ., concur.
